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                                         January 7, 2025

BY ECF

Honorable Leda D. Wettre
United States Magistrate Judge
U.S. District Court for the District of New Jersey
Martin Luther King Jr. Building & U.S. Courthouse
50 Walnut Street
Newark, NJ 07102

       Re:    Admission Pro Hac Vice of Counsel on Consent – United States, et al. v. Apple,
              Inc., Case No. 2:24-cv-04055 (JXN-LDW)

Dear Judge Wettre:

       This firm, together with Williams & Connolly LLP, represents non-party Google LLC
(“Google”) in the above-referenced matter. Pursuant to Local Civil Rule 101.1(c), Google hereby
submits this application for the pro hac vice admission of Isabelle Jensen Beaton (née Isabelle
Marie Jensen) of the law firm Williams & Connolly LLP in this matter. Counsel for Plaintiffs and
Defendant consent to this application.

       In support of this application, please find the following enclosed:

       1.     Declaration of Marina C. Tsatalis in support of the application for
              admission of Isabelle Jensen Beaton;

       2.     Declaration of Isabelle Jensen Beaton;

       3.     Proposed Consent Order granting the pro hac vice admission.

        Should the enclosed proposed form of Order meet with Your Honor’s approval, we
respectfully request that it be entered. We are available at Your Honor’s convenience if
you have any questions.

       We thank the Court for its kind attention to this matter.
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January 7, 2025
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                                             Respectfully submitted,



                                             Marina C. Tsatalis


      Enclosure

      cc:    All Counsel of Record via ECF
